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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                              Plaintiff,

               - against -                           Case No. 1:20-cv-03010-APM

Google LLC,

                              Defendant.


               [PROPOSED] ORDER FOR ADMISSION PRO HAC VICE OF
                             BRADLEY J. PIERSON

         Upon consideration of the motion of Apple Inc., seeking the admission pro hac vice of

 Bradley J. Pierson and the Declaration of Bradley J. Pierson submitted in support of the Motion,

 it is HEREBY ORDERED that the Motion for Admission Pro Hac Vice of Bradley J. Pierson

 is GRANTED.




                                                    Hon. Amit P. Mehta
                                                    United States District Judge
